Case 4:18-Cv-OOO40-RGE-CFB Document 39 Filed 06/06/18 Page 1 of 20

lN THE UNlTED STATES DlSTRlCT COURT FOR THE SOUTHERN DlSTR|CT OF IOWA

 

Christopher (Bruce) The Living Man
E|izabeth (Bruce) the living woman Case #4-18~cv-4O
Plaintiffs

Proof of Service
Po|k County Attorney’s, et. al
Defendants

 

Christopher, The Living Man, does state that the Plaintiff, Christopher, finds it interesting that:

a. The Court asks for proof of service of people that have obviously been served, or they wouldn't
be asking for proof of service, would they, since they wouldn't even know that there was a claim
that existed unless they had received the claim in service.

b. That the rules of court do not require a proof of service unless the court requires it from the
plaintiff, thereby, the plaintiff did not file them. Since the court has NOW asked, the plaintiff
will serve ALL proof of ALL services on ALL defendants, as well as the court, so that this matter
will not occur again.

The Plaintiff now claims that all proof of all services have been served on all, including the court.

See Attached.

   

 

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Elizabeth (Bruce) The living woman Date:

 

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CLERK UF DlSTRlCT COURT
SOUTHERN D|STR|CT OF lOWA

Case 4:18-Cv-OOO40-RGE-CFB Document 39 Filed 06/06/18 Page 2 of 20

 

 

Proof of Service

The undersigned certifies that the foregoing instrument was served u n each of th persons identified as
receiving a copy by delivery in the following manner on the day of ‘°\ , 2018:

.S. Mail and Fax.

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Christ her, The Living Man

 
  
 

 

 

 

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Case 4:18-Cv-00040-RGE-CFB Document 39 Filed 06/06/18 Page 4 of 20

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Case 4:18-Cv-00040-RGE-CFB Document 39 Filed 06/06/18 Page 5 of 20

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Case 4:18-Cv-00040-RGE-CFB Document 39 Filed 06/06/18 Page 6 of 20

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Case 4:18-Cv-OOO40-RGE-CFB Document 39 Filed 06/06/18 Page 7 of 20

AO 440 (Rcv 061l2`) Summor\s in a Civil Acn`or\ (Pngc 2)

 

'\ Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

This summons for (name afindividualandmle ifanyj 6 .V[`l! &[l A$: f _ ij l `
was received by me on (darej §§42 3 l . j

fl l personally served the summons on the individual at (p/a¢e)

 

on (dare} ; or

 

C| l left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides lhere,

 

on (dale) , and mailed a copy to the individual’s last known address; or

Al Served the summons On (name ofr`ndivr`dual) g E“:!' g §§ H z § , Wh is
designated by law to accept service of process on behalf of ( me aforgum:arinn) _&L/! ‘
E,K § - ' on (dare} ( 613 ; or

       

0 l returned the sum ns unexecuted because ; or

 

-» g th€l` (specijj?f

My fees are $ for travel and $ for services, f`or a total of $ 0,00

l declare under penalty of perjury that this information is true.

Date: 4' 'lb/ ¢/;? ’ U‘“_T~W.m._,. f
/ T Server'.r signature _

J¢¢-¢ Q!j;,i..m 71)¢- L`w'»»\ S’-Wd`rgll lY\¢~:\_

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Servcr '5 address

Additional information regarding attempted service, etc:

 

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Case 4:18-Cv-OOO40-RGE-CFB Document 39 Filed 06/06/18 Page 8 of 20

 

AOMO(R:~I.W|!) S\mmn!'n\Cilecz'-l\(hgl)
_,/\_ civil Am¢nr~m. - `

PROOF OF SERV!CE
(Tln's section slu_ruld not beflled with the court unla's required by F¢¢l R. Cr'v. P. 4 (9)

This summons for (m dowan

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was receivedhy meon(dare} . . j

Cl lpersom.lly served due summons on the individual at(plm¢)

 

 

on (daa¢) ;0r

Cl l len the summons al theindividual’s residence or usuai plane of abode with (mne)

 

, a person of suitable age and discretion who midas thcre,
, and mailed a copy to the individual’s last known address or
@Herved the simmons on (m aforde

duigxmdby law to acceptservice ofpmouson behalfof

ggpa¢m‘< BmeL

C'.\ l returned the summons unexecuted because

on (dar¢)

   

, who is

  
 

 

; or
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My fees are $ for travel and $ for services, for a total of $ 0_00 .

-l declare under pgnairy of perjury »that this information is truc.

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Additionaj information regarding attempted scrvice, ctc:

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Case 4:18-Cv-OOO40-RGE-CFB Document 39 Filed 06/06/18 Page 9 of 20

AO 440 (Rev. 06/!2) Summnns in a Civil Action (Page 2)

‘ Civil Aclion No.

PROOF OF SERVICE
(Tlu's section should nor be filed with the conn unless required by Fed. R. Civ. P. 4 (l))

This summons for (name ofindividwlandr'l¢. ifany} E&w»`(/L l _ ®: §§S!L { _ g f ` 24
was received by me on (da¢¢_) ([ !33 l g , j

Cl l personally served the summons on the individual at golace)

 

on (darej ; or

 

El l len the summons at lhe individual’s residence or usual place of abode with (mm¢)

, a person of suitable age and discretion who resides lhere,

 

on (dare) , and mailed a copy to the individual’s last known address; or

@»l served the summons on (name aflndividual) l Q/(g_“ iii

designated by law to accept service of process on behalf of name uforgmizarion,o
¢/ .'LS

D l returned the summons unexecuted because ; or

_. who is

   
 
 
   
 

on (a'ale)

 

~' Cl Olher (specijj'):

My fees are $ for travel and $ for services. for a total of $ 0_00

l declare under penalty of perjury that this information is true

uaw ¢.95'1:/ (Q/§?Q¢:JI$;L~~__.___.
.~ Server ': signature

likwa Br_qi‘-_~;}_m,~¢>

Prr'nled name and e

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Server’s address

Additional information regarding attempted service, etc:

__.__W__ r______

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AO 440 (Rev Ml?) Summons in aCivil Aclion (Pig.c 2)

 

Civil Action No.

PROOF OF SERVICE
(Tbis sedion should nor be filed with the court unless required by Fed R. Civ. P. 4 (l))

was received by me on (a`aze}

This summons for maine afmdividualandzirle. ifany) 1551 M(U, M{_ %<,j£i v

ij l personally Served the summons on the individual at (plac¢)

 

00 /dale) ; Ol`

|J l left the summons at the individual’s residence or usual place ofabode with (name)

 

, a person of suitable age and discretion who resides there7

 

     

on (dare/ , and mailed a copy to the individual’s last known address; or
Q#l served the summons on (name afindivia'ual) £’C list gte ( ¢}5 . who is
designated by law to accept service of process on behalf mama oforgam'zarian) '
_._ g m iff K, on (dare) ' ~ or
l returned the summons unexecuted because ;or
g Olh€l’ (spec{)j)}:
My fees are S for travel and $ for services, for a total of S 000

l declare under penalty of perjury that this information is tme.

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Server 's address

Adclitional information regarding attempted scrvice, etc;

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Civil Actiort NO.

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This summons for manMn/mm/¢, grown :G 44

 
 

was received by me on {dow) ’{~ 13 »-I

Cl I personally served the summons on the individual at gained

on (daz¢) § O!'

 

 

ij l led the summons at the individual’s residence or usual place of abode with (m,)
, a person of suitable age and discretion who resides there,

 

 

 

on (dm¢) , and mailed a copy to the individual’s last known address; or

m served the summons on rm off/wiman &/Ql p{{dm , who is

designaled by law to accept service ofproeess on behal of home aj’mgmimrim; Zé: §§ § M%:
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[J I returned the summons unexecuted became ; or

g Oll'ler (specrjj))`:

My fees are $ for travel and $ for services, for a total of $ 0_00 .

l declare under penalty of perjury that this information is true.

uaw wm

 

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Additional information regarding attempted service. etc:

   

Case 4:18-Cv-00040-RGE-CFB Document 39 Filed 06/06/18 Page 12 of 20

AO 440 (Rev. 06/l 2) Summons m a Civil Action (Puge 2)
Civil Action No.

PROOF OF SERVlCE
(T his section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

ThlS SllmmOnS for (ncxme ofindividual and title, zfany) (§ , §§ ![Ez ijC'-M;_§ML

was received by me on (dare) ' *

Cl l personally served the summons on the individual at (place)

 

on {dare) ; or

 

Cl I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there.

 

on /dar¢) , and mailed a copy to the individual’s last known address; or

@:I served the summons on (name ofimnwdml) g':g!§ 1a m §§
designated by law to accept service of process on behalf (nam¢ aforgum'zan'onj
f/wlcwb am w'OC/§ °“ "'l"“) 3

Cl returned the summons unexecuted because ', or

, who is

  

g Oth€l’ (specr'@/} _'

My fees are $ for travel and S for services, for a total of 3 ()_()()

l declare under penalty of perjury that this information is true

Server ’s signature

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Server ': address

Additional information regarding attempted serviee, etc:

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Case 4:18-Cv-OOO40-RGE-CFB Document 39 Filed 06/06/18 Page 13 of 20

AO 440 (Rev. 06/!?,) Summons in a Civil Aclion (Page 2)

 

- Civil Actjon No.

PROOF OF SERVICE
(This secrion should not be filed w’uh the court unless required by Fed. R. Civ. P. 4 (l))

This summons for mm ovaidwlat.dm/e ifany) awij ga facet (V_l %

was received by me on (da.'e) </

ij l personally served the summons on the individual at (place)

On (dale) ; Or

 

ij l left the summons at the individual‘s residence or usual place of abode with (namz}

, a person of suitable age and discretion who resides rhere,

 

on rda/e) and mailed a copy to the individual’ s last known address; or

   

designated by law to accept service of process on behalf (mme ofwganization)

 

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l'_\ l returned the summons unexecuted because ; or
g O[het' (speci@):
My fees are $ for travel and $ for services, for a total of $ 0_00

l declare under penalty of perjury that this information is true.

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Server `.r address

Additional information regarding attempted service, etc;

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AO 440 (Rev. 06/l2) Summons in a Civil Action (Pagc 2)

 

Civil Action No.

PROOF OF SERV`ICE
(Tllis section should not befr`led with the court unless required by Fed. R. Civ. P. 4 (l))

This summons for rmme ofi~drvidua! andn'zl . ifany) 03
was received by me on (dan:) { 'fjg d .

fl l personally served the summons on the individual at (place)

 

 

Ofl (:late) l Ol’

 

'(J l left the summons at the individual’s residence or usual place of abode with (name)

, a person oi` suitable age and discretion who resides there,

 

on (dart;' . and mailed a copy to the individual’s last known address; or

§ l served the summons on (nazne ofrndividua/) M?M , who is
designated by law to accept service of process on behalf o maine aforganzzmion) '

.` on (da/t) c/éf_§/L

   

l:l l returned the summons unexecuted because ; or

 

g Oll"lel' (speci]§lj.

My fees are $ for travel and $ for services, for a total of $ 000 _

I declare under penalty of perjury that this information is true.

Dare: 4-!3-/;: ` //Q_//zjj”u&:£;d"‘ __

 

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Server `s address

Additiona.l information regarding attempted service, etc;

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Case 4:18-Cv-OOO40-RGE-CFB Document 39 Filed 06/06/18 Page 15 of 20

AO 440 (Rev` 06/! 2) Summons m a Civil Actian (Page 1)

 

Civil Action No`

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

This summons for (name ofi'ndividuaiandiizie, ifam) 85 2d bg fn:z§§`(, L l 'éé(; LA)O’IkUi
was received hv me on (dai¢} fl{,(§{#

fl l personally served the summons on the individual at fplac¢)

on (dare/ ; or

 

ij l lett the summons at the individual’s residence or usual place of abode with fname)

 

, a person of suitable age and discretion who resides there,

 

on /dalej , and mailed a copy to the individual’s last known address; or

£»l served the summons on ¢'name ofmdn»,dml)

 

designated by law to accept service of process on behalf (namc ofo»~ganimcian)

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My fees are $ for travel and $ for services, for a total of S 0_00

ldeclare under penalty ofpcrjury that this information is true.

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Server ’s address

Additional information regarding attempted service, etc:

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AO 440 (Rev. 06/!2) Summons in a Civil Action (Page 2)

"` Civil Action No.

 

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))
‘ . 5 f . rn
This summons for (name of indivi¢a¢al andiitie, if any) j%t£¢ ,_ _, /4£/ 1 :2:,.`/'1<)
was received by me on (daiei . /

A__. . _¢ » ~-»~¢ .`,‘__ M.¢ _». »//

Cl l personally served the summons on the individual at gplac¢)

 

On (date) ; or

 

|J l left the summons at the individual’s residence or usual place of abode with (mme)

,a person of suitable age and discretion who resides there,

 

on (daie) , and mailed a copy to the individual’s last known address; or

§ l served the summons on mame afindivid“al) )QL¢QD§ , who is

desi nated by law to accept service of process on behalf of c aforganizanon)

   

 

 

 

 

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My fees are $ for travel and $ for services, for a total of $ 000

l declare under penalty of perjury that this information is true.

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Additional information regarding attempted service, etc:

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Case 4:18-Cv-OOO40-RGE-CFB Document 39 Filed 06/06/18 Page 17 of 20

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